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                                                                                      2012 Oct-30 PM 02:43
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

GARY STEVEN VASILOFF,                            )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               ) CIVIL ACTION NO.:
                                                 ) 4: 10-CV-8001-VEH-MHH
                                                 ) (4:07-CR-337-VEH-MHH)
UNITED STATES OF AMERICA,                        )
                                                 )
               Defendant.                        )



                                        ORDER

         On September 4, 2012, the magistrate judge’s report and recommendation was

entered and the plaintiff was allowed therein fourteen (14) days in which to file

objections to the recommendations made by the magistrate judge. No objections have

been filed by the plaintiff.

         After careful consideration of the record in this case and the magistrate judge’s

report and recommendation, the court hereby ADOPTS the report of the magistrate

judge.     The Government’s Motion to Dismiss (Doc. 6) if DENIED and the

Government has twenty-one (21) days in which to file any response addressing

Vasiloff’s § 2255 claims on the merits.



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This matter is REFERRED back to the magistrate judge.


     DONE this the 30th day of October, 2012.




                                          VIRGINIA EMERSON HOPKINS
                                          United States District Judge




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